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                                                                United States Bankruptcy Court
                                                                         Southern District of Florida
             Miguel Ernesto Rodriguez
 In re       Marisel Sabina                                                                                      Case No.
                                                                                            Debtor(s)            Chapter    7

                                                    DECLARATION REGARDING PAYMENT ADVICES

Debtor:

            Copies of all payment advices, pay stubs or other evidence of payment received by the debtor from any employer within 60
            days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
            attach copies of any and all received and provide explanation that you didn't work the full 60 days.
                       )

            Copies of all payment advices are not attached because the debtor had no income from any employer during the 60 days
            prior to filing the bankruptcy petition.

            Copies of all payment advices are not attached because the debtor:
                    receives disability payments
                    is unemployed and does not receive unemployment compensation
                    receives Social Security payments
                    receives a pension
                    does not work outside the home
                    is self employed and does not receive payment advices

            None of the statements above apply, however, the debtor is unable to timely provide some or all copies of payment advices
            or other evidence of payment received
            Explain:

Joint Debtor (if applicable):

            Copies of payment advices, pay stubs or other evidence of payment received by the joint debtor from any employer within 60
            days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
            attach copies of any and all received and provide explanation that you didn't work the full 60 days.
                       )

            Copies of payment advices are not attached because the joint debtor had no income from any employer during the 60 days
            prior to filing the bankruptcy petition.

            Copies of payment advices are not attached because the joint debtor:
                    receives disability payments
                    is unemployed and does not receive unemployment compensation
                    receives Social Security payments
                    receives a pension
                    does not work outside the home
                    is self employed and does not receive payment advices

            None of the statements above apply, however, the joint debtor is unable to timely provide some or all copies of payment
            advices or other evidence of payment received
            Explain:




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NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices, it is your responsibility to redact
(blackout) any social security numbers, names of minor children, dates of birth or financial account numbers before attaching
for filing with the court.

 /s/ Miguel Ernesto Rodriguez                                                                            Date:    November 26, 2010
 Miguel Ernesto Rodriguez
 Signature of Attorney or Debtor

 /s/ Marisel Sabina                                                                                      Date:    November 26, 2010
 Marisel Sabina
 Signature of Attorney or Joint Debtor




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